                     Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 1 of 20

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 6RXWKHUQDistrict of 7H[DV

 Case number (If known): _________________________ Chapter                                                                                          Check if this is an
                                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                 04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                         Strike, LLC
                                           ______________________________________________________________________________________________________



                                            Bolt; Bolt Instrumentation & Electrical; Capstone; Capstone Energy Services; Capstone Energy Services, LLC; Capstone, LLC;
                                           ______________________________________________________________________________________________________B
 2.   All other names debtor used
                                            Capstone Infrastructure Services, LLC; Strike Construction, LLC; Pickett Measurement Systems; Pickett Systems; Strike I&E; Strike Industrial;
                                           __BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      in the last 8 years
                                            Strike Oilfield; Strike Testing; Strike, LLC; Strike USA; Circle K of Arkansas, Inc.; RAS Americas, LLC; Bolt Companies; Bolt Companies, LLC;
                                           __BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Include any assumed names,
                                            Bolt Site & Civil; Bolt Testing Services; Edge Hydrotesting; Edge Hydrotesting, LLC; Edge Testing; Edge Testing, LLC
                                           __BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      trade names, and doing business
      as names




 3.   Debtor’s federal Employer             XX-XXXXXXX
      Identification Number (EIN)          ______________________________________




 4.   Debtor’s address                     Principal place of business                                              Mailing address, if different from principal place
                                                                                                                    of business
                                           1800            Hughes Landing Blvd.
                                           ______________________________________________                           _______________________________________________
                                           Number     Street                                                        Number     Street

                                           Suite 500
                                           ______________________________________________                           _______________________________________________
                                                                                                                    P.O. Box
                                           The Woodlands                          TX           77380
                                           ______________________________________________                           _______________________________________________
                                           City                        State    ZIP Code                            City                      State      ZIP Code


                                                                                                                    Location of principal assets, if different from
                                                                                                                    principal place of business
                                           Montgomery
                                           ______________________________________________
                                           Count\                                                                   _______________________________________________
                                                                                                                    Number     Street

                                                                                                                    _______________________________________________

                                                                                                                    _______________________________________________
                                                                                                                    City                      State      ZIP Code




 5.   Debtor’s website (URL)               www.strikeusa.com; www.boltcompanies.com; www.pickettsystems.com
                                           ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 1
                      Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 2 of 20

Debtor         Strike, LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              2131
                                             ____________________________________

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                        Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 3 of 20

Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases           No
       filed by or against the debtor
       within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases               No
       pending or being filed by a
       business partner or an                Yes. Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have           No
       possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                       Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 4 of 20




                      12/06/2021
                     Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 5 of 20

Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                            _____________________________________________            Date       _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                           _________________________________________________________________________________________________
                                           Printed name

                                           _________________________________________________________________________________________________
                                           Firm name

                                           _________________________________________________________________________________________________
                                           Number     Street

                                           ____________________________________________________            ____________ ______________________________
                                           City                                                            State        ZIP Code

                                           ____________________________________                            __________________________________________
                                           Contact phone                                                   Email address



                                           ______________________________________________________ ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
         Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 6 of 20




                                          Schedule A
                                  SCHEDULE OF DEBTORS

On the date hereof, each of the affiliated entities listed below (including the debtor in this chapter
11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101 et seq., as amended. Substantially contemporaneously with the filing of
these petitions, these entities filed a motion requesting that their respective chapter 11 cases be
jointly administered for procedural purposes only.

                                                   EMPLOYER/CORPORATE
                        DEBTOR                         IDENTIFICATION             J URIS DICTION
                                                          NUMBER
 1.     Strike, LLC                                XX-XXXXXXX                   United   States
 2.     Strike HoldCo, LLC                         XX-XXXXXXX                   United   States
 3.     Delta Directional Drilling, LLC            XX-XXXXXXX                   United   States
 4.     Strike Global Holdings, LLC                XX-XXXXXXX                   United   States
 5.     Capstone Infrastructure Services, LLC      XX-XXXXXXX                   United   States
 6.     Crossfire, LLC                             XX-XXXXXXX                   United   States
           Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 7 of 20




                                           STRIKE, LLC
                           __________________________________________
                                       WRITTEN CONSENT
                                              OF
                                       THE SOLE MEMBER
                                      Dated December 6, 2021
                           __________________________________________
              The UNDERSIGNED, being the sole member (the “Sole Member”) of Strike,
LLC, a Texas limited liability company (the “Company”), acting in accordance with Section
101.359 of the Texas Business Organization Code and Section 2.2 of the Seventh Amended and
Restated Regulations of the Company, dated February 12, 2021, hereby consents in writing to
approve the adoption of the following resolutions, effective as of the date first set forth above:
             WHEREAS, Strike Investment, LLC (“Strike Investment”) is the sole member of
the Sole Member;
                 WHEREAS, the Board of Managers of the Strike Investment, including the
restructuring committee of such Board (the “Restructuring Committee”) comprised of
independent managers, in its capacity as the sole member of the Sole Member, has considered
presentations by the management of, and the outside advisors to, the Company regarding the
liabilities and liquidity situation of the Company, the strategic alternatives available to it, and the
effect of the foregoing on the Company’s business, creditors, and other parties in interest;
              WHEREAS, the Sole Member, as authorized by Strike Investment through the
Restructuring Committee, has also had the opportunity to consult with the Company’s
management and outside advisors, and to fully consider the restructuring negotiations with the
Company’s creditors and other parties in interest;
               WHEREAS, based on its review of all available alternatives and advice provided
by such outside advisors, Strike Investment, in its capacity as the sole member of the Sole Member,
through the approval of the Restructuring Committee, has determined that it is in the best interest
of the Company, its subsidiaries, their respective creditors, and other parties in interest, for the
Company and its subsidiaries to take the actions specified in the resolutions set forth below;
         Chapter 11 Case
                WHEREAS, Strike Investment, in its capacity as the sole member of the Sole
Member, has been presented with a proposed petition to be filed by the Company and certain of
its subsidiaries Delta Directional Drilling, LLC, Strike Global Holdings, LLC, Capstone
Infrastructure Services, LLC, and Crossfire, LLC (collectively, the “Debtor Subsidiaries”) in the
United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”)
seeking relief under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”);
             WHEREAS, Strike Investment, in its capacity as the sole member of the Sole
Member, through the approval of the Restructuring Committee, having considered the financial


 AMERICAS 108924078
           Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 8 of 20



and operational aspects of the Company’s business and the best course of action to maximize
value, deems it advisable and in the best interest of the Company, its creditors, and other parties
in interest that a petition be filed by the Company and the Debtor Subsidiaries seeking relief under
the provisions of chapter 11 of the Bankruptcy Code and implement a restructuring of the
Company and the Debtor Subsidiaries;
         Debtor-in-Possession Financing
                WHEREAS, the Company intends to execute that certain Senior Secured Super-
Priority Debtor-in-Possession Loan and Security Agreement, dated as of the date hereof (as may
be further amended, restated, amended and restated, supplemented, or otherwise modified from
time to time, the “DIP Credit Agreement”), by and among Sole Member and the Company, LLC,
as borrowers, each person party thereto from time to time as a lender, the issuing banks party
thereto from time to time, and Lightship Capital II LLC, as administrative agent for the lenders;
                WHEREAS, pursuant to the proposed DIP Credit Agreement, the Company may
enter into certain other loan documents referred to in the DIP Credit Agreement (the “DIP Loan
Documents”);
               WHEREAS, Strike Investment, in its capacity as the sole member of the Sole
Member, through the Restructuring Committee, has reviewed substantially final versions of the
DIP Credit Agreement and the DIP Loan Documents and after careful review and consideration,
Strike Investment, in its capacity as the sole member of the Sole Member, through the approval of
the Restructuring Committee, has determined that it is in the best interest of the Company to enter
into the DIP Credit Agreement and the Company believes that it is advisable and in pursuit of its
purposes as an integral part of the business conducted and proposed to be conducted by the
Company to enter into such documents, consummate such transactions and perform its obligations
under the DIP Loan Documents, in each case, as more fully set forth therein;
               WHEREAS, it is a condition precedent to the effectiveness of and the extensions
of credit under the DIP Credit Agreement that the Company execute and deliver, among other
things, the DIP Loan Documents and the other agreements, documents, notes, instruments and
certificates contemplated thereby (collectively, together with the DIP Loan Documents, the
“Transaction Documents”, the entry into the Transaction Documents is referred to herein as the
“Transaction”);
               WHEREAS, Strike Investment, in its capacity as the sole member of the Sole
Member, through the approval of the Restructuring Committee, has determined that the Company
will receive direct and indirect benefits from the transactions contemplated by the DIP Credit
Agreement and the other Transaction Documents;
               WHEREAS, Strike Investment, in its capacity as the sole member of the Sole
Member, through the approval of the Restructuring Committee, has deemed it advisable and in the
best interests of the Company that the Company enter into, execute, deliver and perform its
obligations under each of the Transaction Documents to which it is a party, enter into the
transactions contemplated thereby and guarantee the obligations under the Transaction
Documents;
           Key Employee Retention Plan


 AMERICAS 108924078                              2
           Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 9 of 20



               WHEREAS, in order to retain certain of the key client facing field employees of
certain of the Debtor Subsidiaries during the chapter 11 cases of the Debtor Subsidiaries, the
Debtor Subsidiaries have developed a Key Employee Retention Plan (the “KERP”) with the
assistance of Korn Ferry, Opportune LLP, and White & Case LLP, the advisors in the Debtor
Subsidiaries’ compensation, evaluation and restructuring efforts, respectively;

                WHEREAS, after due and careful consideration of the terms and conditions set
forth therein, Strike Investment, in its capacity as the sole member of the Sole Member, through
the approval of the Restructuring Committee, believes it is advisable and in the best interests of
the Debtor Subsidiaries to approve the KERP, which provides for estimated aggregate awards with a
target value of approximately $815,000, to be paid in two phases, subject to the approval of the
KERP by the Bankruptcy Court and to any adjustments approved by the Restructuring Committee
in response to comments from the Bankruptcy Court or the Debtor Subsidiaries’ creditors or other
parties in interest. The KERP will be important to the Debtor Subsidiaries business and
restructuring efforts; and

               WHEREAS, the awards for each component of the KERP shall be made pursuant
to the terms set forth in the award letters for each phase with respect to each participant, after
approval of the Bankruptcy Court as determined by the Restructuring Committee.

         NOW, THEREFORE, BE IT
                RESOLVED, that in the judgment of Strike Investment, in its capacity as the sole
member of the Sole Member, through the approval of the Restructuring Committee, it is desirable
and in the best interests of the Company, its subsidiaries, their respective equityholders, creditors,
and other interested parties, that a voluntary petition be filed by the Company and the Debtor
Subsidiaries seeking relief under the provisions of chapter 11 of the Bankruptcy Code, and the
filing of such petition is authorized and directed hereby; and it is further
                RESOLVED, that the Company’s officers and the members of the Restructuring
Committee (each, an “Authorized Person”) be, and each hereby is, authorized and directed, on
behalf of and in the name of the Company, in its individual capacity and as the sole member of the
Debtor Subsidiaries, to execute and verify a petition in the name of the Company under chapter 11
of the Bankruptcy Code and to cause the same to be filed in the Bankruptcy Court in such form
and at such time as the Authorized Person(s) executing said petition on behalf of the Company
shall determine; and it is further
         Retention of Professionals
               RESOLVED, that the Company is authorized, and each Authorized Person be, and
each hereby is, authorized and directed, on behalf of and in the name of the Company, in its
individual capacity and as the sole member of the Debtor Subsidiaries, to retain and employ
professionals to render services to the Company and the Debtor Subsidiaries in connection with
the chapter 11 cases and the transactions contemplated by the foregoing resolutions, including ,
without limitation: the law firms White & Case LLP and Jackson Walker LLP to act as
restructuring counsel; Opportune Partners LLC to act as its investment banker; Opportune Partners
LLP to act as its financial advisor; and Epiq Corporate Restructuring, LLC as its claims and
noticing agent; and in connection herewith, each Authorized Person is hereby authorized and


 AMERICAS 108924078                               3
          Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 10 of 20



directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed appropriate applications for authority to retain the services of the foregoing; and it is further
               RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered and directed, on behalf of and in the name of the Company, in its individual capacity
and as the sole member of the Debtor Subsidiaries, to incur and pay or cause to be paid all such
fees and expenses as in their judgment shall be necessary, appropriate, or advisable to effectuate
the purpose and intent of any and all of the foregoing resolutions; and it is further
         Debtor-in-Possession Financing
                RESOLVED, that the form, terms, and provisions of the Transaction Documents
(including all exhibits and schedules thereto) be, and hereby are, in all respects approved, adopted,
authorized, ratified and confirmed; and it is further
              RESOLVED, that any capitalized terms used but not defined herein shall have the
meanings ascribed to such term in the DIP Credit Agreement; and it is further
                 RESOLVED, that each Authorized Person be, and each of them hereby is
authorized and empowered and directed to (i) execute the Transaction Documents on behalf of the
Company with all changes thereto and supplements, modifications and amendments thereof
approved by, and any other documents or certificates required to be delivered by it or any
Authorized Signatory pursuant thereto, and (ii) cause the Company to perform its obligations under
the Transaction Documents and take any and all other actions that may be necessary or desirable
in order to satisfy or perform any and all of the Company’s obligations thereunder, to consummate
the transactions contemplated therein, and otherwise carry out the intent or purposes of these
resolutions; and it is further
         Key Employee Retention Program
                RESOLVED, that Strike Investment, in its capacity as the sole member of the Sole
Member, through the approval of the Restructuring Committee, authorizes the Debtor Subsidiaries
to enter into the KERP; subject to the approval of the KERP by the Bankruptcy Court and to any
adjustments approved by the Restructuring Committee in response to comments from the
Bankruptcy Court or the Debtor Subsidiaries’ creditors or other parties in interest; and it is further
               RESOLVED, that the awards for each component of the KERP shall be made
pursuant to the terms set forth in the award letters for each phase with respect to each participant,
after approval of the Bankruptcy Court as determined by the Restructuring Committee; and it is
further
         General Authority to Implement Resolutions
               RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered, on behalf of and in the name of the Company, in its individual capacity and as the
sole member of the Debtor Subsidiaries, to execute, deliver, perform, verify, and/or file, or cause
to be executed, delivered, performed, verified, and/or filed (or direct others to do so on their behalf
as provided herein) all necessary documents, including, without limitation, all petitions, affidavits,
statements, schedules, motions, lists, applications, pleadings, contracts, agreements, other papers,
additional security documents, guarantees, reaffirmations, control agreements, waivers of or


 AMERICAS 108924078                               4
          Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 11 of 20



amendments to existing documents, and to negotiate, or cause or authorize to be negotiated, the
forms, terms, and provisions of, and to execute and deliver, or cause or authorize to be executed
and delivered, any amendments, modifications, waivers, or consent to any of the foregoing as may
be approved by any Authorized Person, which amendments, modifications, waivers, or consents
may provide for consent payments, fees, or other amounts payable or other modifications of or
relief under such agreements or documents, the purpose of such amendments, modifications ,
waivers, or consents being to facilitate consummation of the transactions contemplated by the
foregoing resolutions, and, in connection with the foregoing, to employ and retain all assistance
by legal counsel, investment bankers, accountants, restructuring professionals, or other
professionals, and to take any and all other action in furtherance of the foregoing resolutions which
such Authorized Person deems necessary or proper in connection with the chapter 11 cases,
including any and all action necessary or proper in connection with obtaining authorization to use
cash collateral and debtor-in-possession financing, with a view to the successful prosecution of the
chapter 11 cases contemplated by the foregoing resolutions and the successful consummation of
the transactions contemplated by the foregoing resolutions including, without limitation, any
action necessary or proper to maintain the ordinary-course operation of the Company’s business;
and it is further
               RESOLVED, that each Authorized Person be, and each hereby is, authorized to
execute, deliver, and perform any and all special powers of attorney as such Authorized Person
may deem necessary or desirable to facilitate consummation of the transactions contemplated by
the foregoing resolutions, pursuant to which such Authorized Person will make certain
appointments of attorneys to facilitate consummation of the transactions contemplated by the
foregoing resolutions as the Company’s true and lawful attorneys and authorize each such attorney
to execute and deliver any and all documents of whatsoever nature and description that may be
necessary or desirable to facilitate consummation of the transactions contemplated by the
foregoing resolutions; and it is further
                 RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered to do and perform, or cause or authorize to be done and performed, in accordance with
these resolutions any and all such other acts, deeds and things and to make, execute and deliver,
or cause to be made, executed and delivered, in the name and on behalf of the Company, in its
individual capacity and as the sole member of the Debtor Subsidiaries, as may be necessary or
proper, any and all such agreements, undertakings, documents, consents, filings or instruments,
with such terms and provisions as any such Authorized Person may approve, as such Authorized
Person may deem necessary or proper to carry out the purpose and intent of the foregoing
resolutions, the execution, delivery or performance thereof, or the taking of any such action to be
conclusive evidence of such approval and authority; and it is further
               RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered to act without the joinder of any other Authorized Person in connection with the
foregoing resolutions; and it is further
                RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person to seek relief on behalf of the Company and/or the Debtor Subsidiaries under
chapter 11 of the Bankruptcy Code, or in connection with the chapter 11 cases, or any matter
related thereto, be, and hereby are, adopted, ratified, confirmed, and approved in all respects as the



 AMERICAS 108924078                               5
          Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 12 of 20



acts and deeds of the Company, having the same force as if performed pursuant to the direct
authorization of the Sole Member; and it is further
               RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person, or by any employees or agents of the Company, in its individual capacity and
as the sole member of the Debtor Subsidiaries, on or before the date hereof in connection with the
subject matter of the foregoing resolutions be, and they hereby are, ratified, confirmed, and
approved in all respects as the acts and deeds of the Company, having the same force as if
performed pursuant to the direct authorization of the Sole Member; and it is further
                RESOLVED, that the omission from these resolutions of any agreement, document,
or other arrangement contemplated by any of the agreements, instruments, filings, or other
documents described in the foregoing resolutions or any action to be taken in accordance with any
requirement of any of the agreements, instruments, filings, or other documents described in the
foregoing resolutions shall in no manner derogate from the authority of the Authorized Person to
take all actions necessary, desirable, proper, advisable, or appropriate to consummate, effectuate,
carry out, or further the transaction contemplated by, and the intent and purposes of, the foregoing
resolutions; and it is further
               RESOLVED, that the authority conferred upon any Authorized Person of the
Company by this Written Consent is in addition to, and shall in no way limit, such other authority
as such Authorized Person may have with respect to the subject matter of the foregoing resolutions,
and that the omission from this Written Consent of any agreement or other arrangement
contemplated by any of the agreements, contracts, instruments, or documents described in the
foregoing resolutions or any action to be taken in accordance with any requirement of any of the
agreements, instruments, or documents described in the foregoing resolutions shall in no manner
derogate from the authority of any such Authorized Person to take any and all actions convenient,
necessary, advisable, or appropriate to consummate, effectuate, carry out, perform, or further the
transactions contemplated by and the intents and purposes of the foregoing resolutions; and it is
further
                RESOLVED, that each of the Authorized Persons be, and each hereby is,
authorized and empowered to take all actions, or cause to be taken all actions, in the name of the
Company, in its individual capacity and as the sole member of the Debtor Subsidiaries, with
respect to the transactions contemplated by these resolutions as the shareholder, partner, member,
manager (or similar role) of each subsidiary of the Company, in each case, as such Authorized
Person shall deem necessary, proper, appropriate, desirable, or advisable to effectuate the purposes
of the foregoing resolutions, including authorizing and causing such subsidiaries to provide
guaranties and grant liens in respect of any potential financing transactions that, in the judgement
of such Authorized Person, become necessary to successfully prosecute the chapter 11 cases; and
it is further
                RESOLVED, that any person dealing with the Authorized Persons authorized by
the foregoing resolutions in connection with any of the foregoing matters shall be conclusively
entitled to rely upon the authority of the Authorized Person including by their execution in the
name or on behalf of the Company, of any document, agreement or instrument, the same being a
valid and binding obligation of the Company enforceable in accordance with its terms.
                                                ***

 AMERICAS 108924078                              6
         Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 13 of 20



                              [Signature Page Follows]




AMERICAS 108924078                       7
Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 14 of 20
        Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 15 of 20




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS


In re                                                     Chapter 11

STRIKE, LLC,                                              Case No. 21-[____] ( )

                                                          (Joint Administration Requested)
                                   Debtor.


              COMBINED CORPORATE OWNERSHIP STATEMENT AND
                   LIST OF EQUITY SECURITY HOLDERS OF
                               STRIKE, LLC

Pursuant to Rule 1007 of the Federal Rules of Bankruptcy Procedure, the above captioned debtor
and debtor in possession (the “Debtor”), a Texas Limited Liability Company, hereby
respectfully represents that the following is the list of holders of the Debtor’s sole class of equity
or membership interests:

                                                                                       Shares
              Name                                    Address                         (Percent)
                                             1800 Hughes Landing Blvd.
        Strike HoldCo, LLC                           Suite 500                           100%
                                             The Woodlands, TX 77380
Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 16 of 20




   12/06/2021
                            Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 17 of 20


      Fill in this information to Identify the case:

      Debtor Name: Strike, LLC
                                                                                                                                              Check if this is an
      United States Bankruptcy Court for the:          Southern District of Texas                                                             amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if        Deduction for      Unsecured claim
                                                                                                                    partially secured      value of
                                                                                                                                           collateral or
                                                                                                                                           setoff

  1       MEARS GROUP INC.                     CONTACT: STEVE GUDE            LITIGATION                CUD                                                       $4,100,000.00
          1622 EASTPORT PLAZA DRIVE            PHONE: 618-343-6400
          COLLINSVILLE, IL 62234               AR.MEARS@MEARS.NET
  2       EAGLE CAPITAL CORPORATION            PHONE: 662-214-9818            LITIGATION                CUD                                                       $3,466,068.00
          PO BOX 4215                          ACCOUNTING@EAGLECAPIT
          TUPELO, MS 38803                     ALCORP.COM
  3       UNITED RENTALS INC                   CONTACT: BRANDON               EQUIPMENT                 CUD                                                       $1,707,971.42
          PO BOX 840514                        LANDRENEAU                     RENTAL
          DALLAS, TX 75284-0514                PHONE: 325-895-8729
                                               ACH@UR.COM;
                                               CTENDLER@UR.COM
  4       ARDENT SERVICES LLC                  CONTACT: JENNIFER              TRADE                     CUD                                                       $1,590,164.65
          PO BOX 974759                        BURCHFIELD
          DALLAS, TX 75397-4759                PHONE: 985-792-3000
                                               ARNOTES@ARDENT.US
  5       MICHELS CORPORATION                  CONTACT: AUBRIE CONRAD         DRILLING WORK             CUD                                                       $1,588,450.00
          PO BOX 95                            PHONE: 920-583-3132
          BROWNSVILLE, WI 53006                ACONRAD@MICHELS.US
  6       DAKOTA LINE CONTRACTORS INC          PHONE: 701-224-8654            CONV ROAD                 CUD                                                       $1,350,792.00
          2729 PAINTBALL WAY                   LWHITE@DLCND.COM               BORING
          BISMARCK, ND 58504
  7       DELTA FUEL COMPANY                   CONTACT: CHRISTINA     FUEL                              CUD                                                       $1,139,489.94
          P.O. BOX 1810                        ROBERTS
          FERRIDAY, LA 71334                   PHONE: 318-757-3975
                                               ACHPAYMENTS@DELTAFUEL.
                                               COM




Official Form 204        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                          Page 1
                         Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 18 of 20
  Debtor: Strike, LLC                                                                        Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  8     SUMMIT ELECTRIC SUPPLY CO INC      CONTACT: SHAUNA         OPERATIONS                  CUD                                                       $1,139,391.04
        PO BOX 7280                        MARTINEZ                SUPPLIER
        DALLAS, TX 75284-8345              PHONE: 505-389-1733 EXT
                                           1233
                                           CASHAPPLICATIONS@SUMM
                                           IT.COM
  9     JONES TRANSPORT                    CONTACT: JENNIFER         TRADE                     CUD                                                       $1,113,208.49
        6184 HWY 98 W, STE 210             HOUSTON
        HATTIESBURG, MS 39402              PHONE: 601-736-1151
                                           CHRISTI.BOUNDS@JONESLO
                                           GISTICS.COM
  10    BLACKWELL ENTERPRISES INC          CONTACT: BEN BRAKEFIELD   TRADE                     CUD                                                       $1,044,561.59
        14634 COTTON GIN AVE               PHONE: 405-449-7795
        WAYNE, OK 73095                    BBRAKEFIELD@BLACKWELLE
                                           NT.COM
  11    CROSS COUNTRY INFRASTRUCTURE       CONTACT: ADRIANNE         EQUIPMENT                 CUD                                                       $1,014,695.33
        SVCS USA                           BENNETT                   RENTAL
        PO BOX 843851                      PHONE: 303-361-6797
        KANSAS CITY, MO 64184-3851         ABENNETT@CCPIPELINE.CO
                                           M
  12    CAT FINANCIAL COMMERCIAL ACCT      CONTACT: ABBEY BIRKEY     EQUIPMENT                 CUD                                                         $934,912.13
        PO BOX 732005                      PHONE: 188-228-8811       RENTAL
        DALLAS, TX 75397-8595              ADSMITH@FOLEYEQ.COM
  13    HARDROCK DIRECTIONAL DRILLING      CONTACT: BOBBY HOOVER DRILLING WORK                 CUD                                                         $873,095.00
        PO BOX 33371                       PHONE: 210-403-2086
        SAN ANTONIO, TX 78265              BOBBY.HOOVER@HARDROCK
                                           HDD.COM
  14    GRAYBAR ELECTRIC CO INC            PHONE: 412-320-2594   OPERATIONS                    CUD                                                         $792,029.90
        900 RIDGE AVE                      CUSTOMERREMIT@GRAYBAR SUPPLIER
        PITTSBURGH, PA 15212               .COM
  15    PIPELINE SUPPLY & SERVICE          CONTACT: BRANDI WRIGHT TRADE                        CUD                                                         $731,615.79
        PO BOX 74321                       PHONE: 713-741-8125
        CLEVELAND, OH 44194-4321           AR@PSSCOMPANIES.COM;
                                           BRANDI.WRIGHT@PSSCOMP
                                           ANIES.COM
  16    BAYOU ELECTRICAL SERVICES          CONTACT: JORDAN DEVATY TRADE                        CUD                                                         $675,980.61
        8036 MILLER ROAD 2                 PHONE: 281-121-5200
        HOUSTON, TX 77049                  AR@BAYOUELECTRICAL.COM


  17    CBK TRANSPORT LLC                  CONTACT: BEN FLEMING   TRADE                        CUD                                                         $595,237.50
        28310 ASCOT FARMS ROAD             PHONE: 713-502-5185
        MAGNOLIA, TX 77354                 BEN.FLEMING@CBKTRANSPO
                                           RT.COM
  18    WHOLESALE ELECTRIC SUPPLY          PHONE: 281-479-6055       OPERATIONS                CUD                                                         $546,568.50
        PO BOX 732778                      ARREMIT@WHOLESALEELEC     SUPPLIER
        DALLAS, TX 75373-2778              TRIC.COM
  19    ALLWASTE INDUSTRIAL SVCS LLC       PHONE: 346-801-3116     HYDRO                       CUD                                                         $533,675.69
        PO BOX 1378                        AR@ALLWASTEINDUSTRIAL.C EXCAVATION
        MONT BELVIEU, TX 77580             OM
  20    J2 RESOURCES LLC                   PHONE: 713-401-3171       OPERATIONS                CUD                                                         $533,065.04
        945 MCKINNEY DR., 116              KDUGAN@J2RESOURCES.CO     SUPPLIER
        HOUSTON, TX 77002                  M




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 2
                         Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 19 of 20
  Debtor: Strike, LLC                                                                        Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  21    C.I. ACTUATION                     CONTACT: ASHLEY YOUNG     OPERATIONS                CUD                                                         $524,808.59
        PO BOX 842348                      PHONE: 281-209-3800       SUPPLIER
        DALLAS, TX 75284-2348              ASHLEY.YOUNG@CIACTUATI
                                           ON.COM
  22    VELOX LLC                          CONTACT: HARRY FOX     DRILLING WORK                CUD                                                         $506,970.88
        PO BOX 142                         PHONE: 256-217-4339
        RYLAND, AL 35767                   OFFICEADMIN@VELOXUC.CO
                                           M
  23    WHITCO SUPPLY LLC                  PHONE: 337-837-2440    OPERATIONS                   CUD                                                         $501,556.59
        200 N. MORGAN AVENUE               CAMILLE@WHITCOSUPPLY.C SUPPLIER
        BROUSSARD, LA 70518                OM
  24    AXIS INDUSTRIAL SERVICES LLC       PHONE: 361-888-4855       FABRICATION               CUD                                                         $501,376.00
        5110 IH 37                         DEDISON@AXISINDSVCS.CO
        CORPUS CHRISTI, TX 78407           M
  25    IGNITE ENERGY SERVICES             CONTACT: DEBORAH MICHEL HAULING - EQ                CUD                                                         $486,450.27
        PO BOX 2247                        PHONE: 318-505-3630
        FREDERICKSBURG, TX 78624           ACCOUNTING@IGNITEHYDR
                                           O.COM


  26    BC HENDERSON CONSTRUCTION INC CONTACT: MACEY MCKEE  DRILLING WORK                      CUD                                                         $484,768.35
        366 VZCR 3605                 PHONE: 903-896-4835
        EDGEWOOD, TX 75117            BRYAN@BCHCONSTRUCT.CO
                                      M
  27    ROCK-IT NATURAL STONE INC          CONTACT: LINDA LANE       HAULING - D/M             CUD                                                         $465,639.54
        PO BOX 410                         PHONE: 800-371-4219
        WISTER, OK 74966                   LINDA_LANE@ROCK-
                                           ITNATURALSTONE.COM
  28    MASON CONSTRUCTION LTD             CONTACT: BRITNI MILAM TRADE                         CUD                                                         $462,518.98
        PO BOX 20057                       PHONE: 409-842-4455
        BEAUMONT, TX 77720-0057            PAYMENTS@MASONCONSTR
                                           UCTION.NET
  29    STRATA INNOVATIVE SOLUTIONS        CONTACT: ASHLEY SCHULTZ   TRADE                     CUD                                                         $452,945.15
        12005 STARCREST DR                 PHONE: 210-714-2386
        SAN ANTONIO, TX 78247              ASHLEYSCHULTZ@STRATA-
                                           IS.COM
  30    BENNETT CONSTRUCTION, INC. AND     CONTACT: BRADLEY          LITIGATION                CUD                                                     UNDETERMINED
        NGM INSURANCE COMPANY              DAVENPORT
        210 PARK AVENUE SUITE 1200         PHONE: 405-898-8654
        OKLAHOMA CITY, OK 73102            BDAVENPORT@DSDA.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 3
Case 21-90054 Document 1 Filed in TXSB on 12/06/21 Page 20 of 20




   12/06/2021
